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                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION

MATS JARLSTROM,                                  Case No.: 3:17-cv-00652-SB

                          Plaintiff,

v.                                                             AGREED PRELIMINARY
                                                 INJUNCTION
CHRISTOPHER D. ALDRIDGE, WILLIAM
J. BOYD, DAREN L. CONE, SHELLY MC
DUQUETTE, JASON J. KENT, LOGAN T.
MILES, RON SINGH, DA VE M. VAN
DYKE, SEAN W. ST. CLAIR, AMIN
WAHAB, and OSCAR J. ZUNIGA JR., in
their official capacities as members of the
Oregon State Board of Examiners for
Engineering and Land Surveying,

                          Defendants.



             AGREED PRELIMINARY INJUNCTION - 1
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       On April 25, 2017, Plaintiff Mats Jiirlstri:im filed a civil-rights complaint [ECF l] in the

above-styled matter against the members of the Oregon State Board of Examiners for

Engineering and Land Surveying (Board) in their official capacities. Jiirlstri:im' s complaint

asserts that Oregon's Professional Engineer Registration Act, Or. Rev. Stat.§ 672.002 et seq.,

and implementing regulations violate the First Amendment to the U.S. Constitution both as-

applied and on their face by preventing him from (1) communicating publicly and privately

about theories relating to the mathematics behind traffic lights, and (2) describing himself using

the word "engineer."

       Rather than litigating a motion for preliminary injunction, the Board agrees not to enforce

the Professional Engineer Registration Act, Or. Rev. Stat. § 672.002 et seq., or any implementing

regulations against Plaintiff Jiirlstri:im during the pendency of this litigation for engaging in any

of the speech described below.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      Plaintiff Jiirlstri:im may study, communicate publicly about, and communicate

privately about his theories relating to traffic lights throughout the pendency of this litigation as

long as Plaintiff Jiirlstri:im's communications occur outside the context of a paid employment or

contractual relationship relating to the timing of traffic lights with a governmental or other entity

that changes or implements or has final approval to change or implement traffic-light timing

without the review and acceptance of responsibility by an Oregon-licensed professional engineer.

        2.      Plaintiff Jiirlstri:im may describe himself publicly and privately nsing the word

"engineer" throughout the pendency of this litigation.




              AGREED PRELIMINARY INJUNCTION - 2
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        3.     The Board shall not enforce the Professional Engineer Registration Act, Or. Rev.

Stat. § 672.002 et seq., or any implementing regulations against Plaintiff Jarlstrom during the

pendency of this litigation for having engaged in the activities described in Paragraph 1 or

Paragraph 2 above.

       4.      The Board shall not enforce the Professional Engineer Registration Act, Or. Rev.

Stat. § 672.002 et seq., or any implementing regulations against Plaintiff Jarlstrom at any time-

during or after this litigation-for having engaged in activities described in Paragraph 1 or

Paragraph 2 above during the pendency of this litigation.

       5,      The bond requirement set forth in Federal Rule of Civil Procedure 65 is waived.




                                                  United States District Judge


AGREED TO BY:



Is Christina L. Beatty-Walters (signed by         Is Samuel B. Gedge
    consent)                                      Samuel B. Gedge (VA Bar No. 80387)*
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             AGREED PRELIMINARY INJUNCTION - 3
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   AGREED PRELIMINARY INJUNCTION - 4
